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  IT IS ORDERED as set forth below:



  Date: September 22, 2017

                                                            _____________________________________
                                                                       Lisa Ritchey Craig
                                                                  U.S. Bankruptcy Court Judge

 _______________________________________________________________


                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                       )   CHAPTER 7
                                             )
NAKIA OMYRA QUINONES,                        )   CASE NO. 16-56100 - LRC
                                             )
                     Debtor.                 )
                                             )
TAMARA MILES OGIER,                          )   ADVERSARY PROCEEDING
as Chapter 7 Trustee                         )   NO. 16-05273
                     Plaintiff,              )
v.                                           )
                                             )
ANTHONY ATWATER,                             )
                                             )
                     Defendant.              )



                                         ORDER

       This adversary proceeding arises out of the Chapter 7 Bankruptcy Case of Nakia

Omyra Quinones, Case No. 16-56100-lrc (the “Bankruptcy Case”). Plaintiff Tamara

Ogier, in her capacity as Chapter 7 Trustee (“Plaintiff”), seeks summary judgment


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declaring that she may market and sell real property commonly known as 3836

Riverview Bend, Ellenwood, Georgia (the “Property”) owned jointly by the bankruptcy

estate and a co-owner, Anthony Atwater’s (“Defendant”) 1 pursuant to 11 U.S.C. §

363(h).      Defendant opposes the motion for summary judgment. 2                            This is a core

bankruptcy matter, over which this Court has subject matter jurisdiction. See 28 U.S.C.

§§ 157(b)(2)(A), (N), & (O); 28 U.S.C. § 1334. For the following reasons Plaintiff’s

summary judgment motion will be granted.


    I.       Summary Judgment Standard


         Federal Rule of Bankruptcy Procedure 7056 makes Federal Rule of Civil

Procedure (the “Federal Rule”) 56 applicable in adversary proceedings. Fed. R. Bankr. P.

7056. Summary judgment is only proper where “the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a matter

of law.” Fed. R. Civ. P. 56(a); see also Hairston v. Gainesville Sun Publ’g Co., 9 F.3d

913, 918-19 (11th Cir. 1993).


         A fact is material if it might affect the outcome of a proceeding under the

governing substantive law. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 256 (U.S.

1986). A dispute of fact is genuine “if the evidence is such that a reasonable jury could

return a verdict for the nonmoving party.” Id.

1
  Defendant is subject to the jurisdiction and venue of this Court and has not raised personal jurisdiction as an
affirmative defense. Defendant is also pro se.
2
 Defendant filed his response to the Motion (Doc. 16) (the “Response”) after the 21-day response period prescribed
by Bankruptcy Local Rule 7007-1(c). Plaintiff has not objected to the Response, and the Court will therefore
consider the Response.


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       At the summary judgment stage of a proceeding, the Court’s function is not to

determine the truth of the matter by weighing the evidence, but rather to determine if

there is a genuine issue for trial. Id. When making this determination, the Court must

view the evidence in the light most favorable to the nonmoving party. Adickes v. S.H.

Kress & Co., 398 U.S. 144, 157 (1970); Rosen v. Biscayne Yacht & Country Club, Inc.,

766 F.2d 482, 484 (11th Cir. 1985). “All reasonable doubts and inferences should be

resolved in favor of the opponent.” Amey, Inc. v. Gulf Abstract & Title, Inc., 758 F.2d

1486, 1502 (11th Cir. 1985).

       The moving party bears the burden of establishing the right of summary judgment.

Clark v. Coats & Clark, Inc., 929 F.2d 604, 608 (11th Cir. 1991); Clark v. Union Mut.

Life Ins. Co., 692 F.2d 1370, 1372 (11th Cir. 1982). The moving party must identify

those evidentiary materials listed in Federal Rule 56(c) that establish the absence of a

genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323-24 (1986); see

also Fed. R. Civ. P. 56(e).

       Once the moving party makes a prima facie showing that it is entitled to judgment

as a matter of law, the nonmoving party must go beyond the pleadings and demonstrate

that there is a material issue of fact that precludes summary judgment. Celotex, 477 U.S.

at 324; Martin v. Commercial Union Ins. Co., 935 F.2d 235, 238 (11th Cir. 1991). “[A]

party opposing a properly supported motion for summary judgment may not rest upon the

mere allegations or denials of his pleading, but must set forth specific facts showing that

there is a genuine issue for trial.” Anderson, 477 U.S. at 248 (citations omitted).




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      “Pro se pleadings are held to a less stringent standard than pleadings drafted by

attorneys and will, therefore, be liberally construed.” Tannenbaum v. United States, 148

F.3d 1262, 1263 (11th Cir. 1998). However, this does not mean that a pro se litigant can

“escape the essential burden under summary judgment standards of establishing that there

is a genuine issue as to a fact material to his case in order to avert summary judgment.”

Brown v. Crawford, 906 F.2d 667, 670 (11th Cir. 1990); see also Coleman v. Smith, 828

F.2d 714, 717 (11th Cir. 1987); RES-GA Bay St. Louis, LLC v. Brooks (In re Brooks), 548

B.R. 585, 591 (Bankr. S.D. Ga. 2016).        “‘The nonmoving party, even if a pro se

[defendant], cannot rely solely on his complaint and other initial pleadings to contest a

motion for summary judgment supported by evidentiary material, but must respond with

affidavits, depositions, or otherwise to show that there are material issues of fact which

require a trial.’” In re Brooks, 548 B.R. at 591 (quoting Munera v. Metro W. Detention

Ctr., 351 F. Supp. 2d 1353, 1357 (S.D. Fla. 2004)).

      Pursuant to BLR 7056-1(a)(1), “[t]he movant for summary judgment shall attach

to the motion a separate and concise statement of the material facts, numbered separately,

as to which the movant contends no genuine issue exists to be tried. Statements in the

form of issues or legal conclusions (rather than material facts) will not be considered by

the Bankruptcy Court.” BLR 7056-1(a)(1). “The respondent to a motion for summary

judgment shall attach to the response a separate and concise statement of material facts,

numbered separately, as to which the respondent contends a genuine issue exists to be

tried. Response should be made to each of the movant's numbered material facts. All

material facts contained in the moving party's statement that are not specifically


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controverted in respondent's statement shall be deemed admitted.” BLR 7056-1(a)(2).

Plaintiff attached a Statement of Material Facts Not in Dispute (Doc. 15) (“Plaintiff’s

SMF”) to the Motion, but Defendant did not respond to Plaintiff’s SMF. Additionally,

Defendant has explicitly admitted many of these facts in Defendant’s Answer to the

Complaint (the “Answer”) or the Response. Therefore, the Court deems the material

facts provided by Plaintiff admitted.


       II.      Findings of Fact


             The Property consists of a single-family home on approximately 0.38 acres of

land. 3 On or about March 14, 2011, Defendant acquired the Property for $36,500 by

Special Limited Warranty Deed, which was filed and recorded in DeKalb County. 4

             Defendant did not move into the Property upon acquiring it. 5 Instead, Defendant

began serving a 72-month prison sentence for his conviction for extortion under color of

official right, interference with interstate commerce, and attempting to aid and abet a

drug trafficking crime. 6

             In August 2011, with the assistance of counsel at the prison camp, Defendant

voluntarily transferred by Warranty Deed the Property to Debtor and Defendant as joint




3
    Plaintiff’s SMF, ¶¶ 5, 15.
4
    Plaintiff’s SMF, ¶¶ 4, 5; Answer, ¶ 3; Response ¶ 5.
5
    Plaintiff’s SMF, ¶ 18; Answer, ¶ 3.
6
    Plaintiff’s SMF, ¶ 19; Answer, ¶ 3.


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tenants with rights of survivorship (the “Property Transfer”). 7 The Warranty Deed was

filed and recorded in DeKalb County. 8

           At the time of the Property Transfer, Debtor and Defendant were engaged, but this

relationship ceased at some point after the Property Transfer. 9                         Neither Debtor nor

Defendant currently resides at the Property. 10 The current value of the Property is not

less than $80,000. 11             There are no liens on the Property. 12               There is little to no

marketability for the sale of a half interest in a single family residential home on a small

piece of land. 13 The Property is not used in the production, transmission, or distribution,

for sale, of electric energy or of natural or synthetic gas for heat, light or power. 14 Debtor

initiated the Bankruptcy Case by filing her voluntary petition under Chapter 7 of the

Bankruptcy Code on April 5, 2016 (the “Petition Date”). 15




7
    Plaintiff’s SMF, ¶¶ 7, 20; Answer, ¶ 5.
8
    Plaintiff’s SMF, ¶ 7.
9
    Plaintiff’s SMF, ¶¶ 8, 9; Answer, ¶¶ 2, 4, 6.
10
  Plaintiff’s SMF, ¶¶ 10, 1; Answer, ¶ 9. Defendant does state in the Answer, that he planned to return to the
Property upon his release from prison. Answer, ¶ 4.
11
   Plaintiff’s SMF, ¶ 18. Plaintiff filed an Interim Report for the Period Ending June 30, 2017 (Bankr. Doc. 41) and
listed the value of the Property as $140,000, which is also consistent with Debtor’s valuation contained in Schedule
A filed in the Bankruptcy Case.
12
     Plaintiff’s SMF, ¶ 16; Answer, ¶ 3.
13
     Plaintiff’s SMF, ¶ 16.
14
     Plaintiff’s SMF, ¶ 17.
15
     Bankr. Doc. 1.


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   III.   Conclusions of Law


   A. Standard for Selling Property Free and Clear of Co-Owner’s interest under
   11 U.S.C. § 363(h)


       The Bankruptcy Code provides for a trustee to “sell both the estate’s interest . . .

and the interest of any co-owner in property in which the debtor had, at the time of the

commencement of the case, an undivided interest as a tenant in common, joint tenant, or

tenant by the entirety” only if four conditions are all met. 11 U.S.C. § 363(h). The four

conditions are:


       (1) partition in kind of such property among the estate and such co-owners is
       impracticable;
       (2) sale of the estate’s undivided interest in such property would realize
       significantly less for the estate than sale of such property free of the interests of
       such co-owners;
       (3) the benefit to the estate of a sale of such property free of the interests of co-
       owners outweighs the detriment, if any, to such co-owners; and
       (4) such property is not used in the production, transmission, or distribution, for
       sale, of electric energy or of natural or synthetic gas for heat, light, or power.


       Plaintiff bears the burden of proof and must establish that each element of 363(h)

is satisfied. Pullen v. Love (In re Pullen), 2013 Bankr. LEXIS 4302, *28 (Bankr. N.D.

Ga. 2013) (J. Diehl). As a threshold matter, the Court must first determine whether

Debtor held an undivided interest as a tenant in common, joint tenant, or tenant by the

entirety in the Property on the filing date such that that interest became property of the

estate pursuant to § 541 of the Bankruptcy Code. Id. at *29; Stewart v. Shubert (In re

Stewart), 368 B.R. 445, 449 (Bankr. E.D. Pa. 2007); Yoppolo v. Missler (In re Missler),



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418 B.R. 259, 262 (Bankr. N.D. Ohio 2009). Under § 541, property of the estate

includes, inter alia, “all legal or equitable interests of the debtor in property as of the

commencement of the case.” 11 U.S.C. § 541(a)(1).


     B. Application of Law to Facts


         As to the threshold question, Plaintiff has shown that she is entitled to summary

judgment. It is undisputed that Defendant executed the Warranty Deed transferring the

Property to himself and Debtor as joint tenants with rights of survivorship prior to the

Petition Date. Therefore, Debtor owned an undivided interest as joint tenant in the

Property on the Petition Date, and pursuant to § 541(a)(1), this interest became property

of Debtor’s bankruptcy estate.

         Defendant has not put forth any evidence showing that Debtor did not have an

interest in the Property on the Petition Date such that it became property of the estate, and

“cannot rely solely on his complaint and other initial pleadings to contest a motion for

summary judgment supported by evidentiary material.” In re Brooks, 548 B.R. at 591

(citations omitted).          Defendant failed to “respond with affidavits, depositions, or

otherwise to show that there are material issues of fact which require a trial.” Id.

Plaintiff is therefore entitled to summary judgment that Debtor owned an undivided

interest as joint tenant in the Property on the Petition Date, and this interest became

property of the estate. 16

16
  In his Answer, Defendant appears to raise four arguments as to why the Property is not property of the estate.
Defendant did not renew these arguments in the Response. Even if he had, Plaintiff would still be entitled to
summary judgment because Defendant “simply has not presented any evidence to rebut” the fact that he transferred
an interest in the Property to Debtor “in order to create a genuine issue of material fact warranting trial.” Brown v,


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        Since Debtor’s bankruptcy estate and Defendant are co-owners of the Property as

joint tenants with rights of survivorship, if Plaintiff satisfies the four elements set forth in

subsections (1) – (4) of § 363(h), Plaintiff may sell the Property. The undisputed facts

show that elements (1), (2), and (4) are easily satisfied. Whether Plaintiff has satisfied

element (3) is a close question, but ultimately, Plaintiff prevails on this as well.

        The Property is single-family residential property consisting of a house on

approximately 0.38 acres of land. There is no practicable way for the Property to be

partitioned other than by sale of the Property and a division of the proceeds. In re Pullen,

2013 Bankr. LEXIS 4302, *31 (“Where property is a single family residence, there is no

practicable manner of partition other than a sale and division of the proceeds.”) (citations

omitted); In re Ivey, 10 B.R. 230, 232 (Bankr. N.D. Ga. 1981) (J. Drake). “It is [also]

widely accepted that a sale of a single family residence subject to a co-owners one-half

interest in such property chills any prospective purchase of the estate's one-half interest,

and the estate would realize more value from the sale of the co-owner's interest along

with that of the estate.” In re Pullen, 2013 Bankr. LEXIS 4302 at *32 (citations omitted).

Therefore, elements (1) and (2) are satisfied. There is no dispute that the Property is not

used in the production, transmission, or distribution, for sale, of electric energy or of

natural or synthetic gas for heat, light, or power, and therefore element (4) is satisfied.

        For Plaintiff to satisfy element (3), she must show that the benefit to the estate

outweighs the detriment to Defendant. The benefit does not have to significantly exceed


Crawford, 906 F.2d 667 (11th Cir. 1990). Defendant “cannot rely solely on his [Answer] and other initial pleadings
to contest a motion for summary judgment supported by evidentiary material.” In re Brooks, 548 B.R. at 591
(citations omitted).


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the detriment. Id. at *33 (citations omitted). Although “the trustee bears the burden of

proof,” her “initial burden . . . is simply to show that a sale free of the interests of the

debtor's co-owners will produce a benefit to the estate” and, “[o]nce that burden is met,

the defendants must come forward with evidence of detriment.” In re Jenkins, 347 B.R.

77, 86 (Bankr. N.D. Ill. 2006).       “The trustee often satisfies this burden through

stipulations as to the value of the property and the amount of existing liens, or through

the testimony of appraisers or the parties themselves.” Id. That being said, the Court

must “weigh the benefit to the estate against the prejudice to Defendant in accordance

with the summary judgment standard.” In re Pullen, 2013 Bankr. LEXIS 4302 at *32

       Defendant does not dispute that a sale of the Property would benefit the estate.

The undisputed facts show that the Property is worth $80,000 and subject to no liens.

Even considering the necessary costs of sale, if Plaintiff sells the Property for $80,000,

Debtor’s bankruptcy estate should receive at least $35,000 in net proceeds.          As no

secured or priority claims have been filed in the Bankruptcy Case thus far, and

$58,227.63 in unsecured claims have been filed, the proceeds the estate will receive will

return a sizeable dividend to Debtor’s unsecured creditors.

       When analyzing the potential detriment to a co-owner caused by the sale of

property, courts must consider “not only economic hardship, but also any loss, harm,

injury, or prejudice proximately following from an involuntary displacement.” Id. at

*33-34 (citations omitted).    In certain circumstances, the Court should consider the

emotional impact on a defendant as well. See In re Griffin, 123 B.R. 933, 936-37 (Bankr.

S.D. Fla. 1991) (holding that the benefit to the estate of a sale of property did not exceed


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the detriment to a co-owner in part because “the economic and emotional impact

resulting from the co-owner's involuntary displacement from her residence of almost

fourteen years would be severe”); cf. In re Pullen, 2013 Bankr. LEXIS 4302 at *34-35

(finding that “pure economic considerations are more influential” when the property in

question is not a defendant’s home).

       Even though the Property is not income generating or necessary to Defendant’s

profession or job, there will be some economic detriment to Defendant if Plaintiff sells

the Property for $80,000. There is evidence that Defendant purchased the Property for

$36,500. Accordingly, he would likely receive only the amount he originally invested,

rather than any gain on his investment or any compensation for amounts spent improving

or maintaining the Property.

       As to emotional detriment, the undisputed facts show that Defendant does not and

has never resided in the Property and, therefore, would not be forced to move out of his

home. Although the Court recognizes that a sale of the Property could have a negative

emotional impact on Defendant, despite his never having resided at the Property,

Defendant has failed to come forward with evidence to support any such emotional

detriment, and the Court cannot speculate as to its existence.

       In any event, § 363(i) mitigates any potential economic or emotional detriment

because it provides Defendant a right of first refusal before Plaintiff can consummate a

sale of the Property under § 363(h). 11 U.S.C. § 363(i) (“Before the consummation of a

sale of property to which subsection (g) or (h) of [§ 363] applies, . . . the . . . co-owner of

such property . . . may purchase such property at the price at which such sale is to be


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consummated.”). Like the subject property in In re Ivey, there is significant equity in the

Property such that, if Defendant wishes to purchase the Property, financing should be

available. 10 B.R. at 233.

         After considering the benefit to the estate and the detriment, both economic and

non-economic, to Defendant of a sale of the Property, the Court finds that the benefit to

the estate is significant and outweighs the detriment to Defendant. Further, any potential

detriment to Defendant is mitigated by the protections afforded to Defendant as a co-

owner under the Bankruptcy Code.


   IV.      Conclusion


         For the foregoing reasons, it is hereby

         ORDERED that Plaintiff’s summary judgment motion is GRANTED, Plaintiff

may market and sell the Property free of Defendant’s one-half interest in the Property,

subject to the Court’s approval of the final proposed contract for sale.

         A separate judgment in favor of Plaintiff will be entered contemporaneously with

this Order.

                                       END OF DOCUMENT




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                                   Distribution List

Tamara Miles Ogier
Ogier, Rothschild & Rosenfeld, P. C.
P. O. Box 1547
Decatur, GA 30031

Allen P. Rosenfeld
Ogier Rothschild & Rosenfeld, PC
P. O. Box 1547
Decatur, GA 30031

Anthony Atwater
607 Mentor Avenue
Capitol Heights, MD 20743




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